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                             UNITED STATES DISTRICT COURT FOR
                                 THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                             )
                                                      )
                               Plaintiff,             )       8:08CR281
                                                      )
                       vs.                            )       FINAL ORDER OF
                                                      )       FORFEITURE
                                                      )
JOSE ROBLEDO,                                         )
                                                      )
                               Defendant.             )


       NOW ON THIS 18th day of September, 2009, this matter comes on before the Court upon

the United States’ Motion for Final Order of Forfeiture. The Court reviews the record in this case

and, being duly advised in the premises, find as follows:

       1. On June 12, 2009, the Court entered a Preliminary Order of Forfeiture pursuant to the

provisions of Title 21, United States Code, Sections 846 and 853, based upon the Defendant's plea

of guilty to Count I the Superseding Indictment and the Stipulation filed herein. By way of said

Preliminary Order of Forfeiture, the Defendant’s interest in Lots 24 and 25, Black 2, Selbys-WL-First

Addition, as addition to the City of Omaha, as surveyed, platted and recorded in Douglas County,

Nebraska, locally known as 2640 Jefferson Street, Omaha, Nebraska was forfeited to the United States.

       2. Notice of Criminal Forfeiture was posted on an official Government internet site

(www.forfeiture.gov) for at least thirty consecutive days, beginning on July 15, 2009, as required by

Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime and Asset Forfeiture

Claims. A Declaration of Publication was filed herein on September 16, 2009 (Filing No. 138).

       3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.
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       4. The Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

       B. All right, title and interest in and to Lots 24 and 25, Black 2, Selbys-WL-First Addition,

as addition to the City of Omaha, as surveyed, platted and recorded in Douglas County, Nebraska,

locally known as 2640 Jefferson Street, Omaha, Nebraska, is hereby forever barred and foreclosed.

       C. Lots 24 and 25, Black 2, Selbys-WL-First Addition, as addition to the City of Omaha, as

surveyed, platted and recorded in Douglas County, Nebraska, locally known as 2640 Jefferson Street,

Omaha, Nebraska, be, and the same hereby is, forfeited to the United States of America .

       D. The United States Bureau of Alcohol, Tobacco, Firearms and Explosives for the District

of Nebraska is directed to dispose of said property in accordance with law.

       DATED this 18th day of September, 2009

                                             BY THE COURT:



                                             s/ Joseph F. Bataillon
                                             JOSEPH F. BATAILLON, CHIEF JUDGE
                                             United States District Court
